

People v Augustus (2025 NY Slip Op 02733)





People v Augustus


2025 NY Slip Op 02733


Decided on May 06, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2025

Before: Webber, J.P., Moulton, González, Pitt-Burke, Higgitt, JJ. 


Ind. No. 1894/17|Appeal No. 4290|Case No. 2021-04334|

[*1]The People of the State of New York, Respondent,
vVictor Augustus, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (B. Anthony Bauth of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kalani A. Browne of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about November 16, 2021, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court correctly assessed 30 points and 10 points under risk factors 9 and 10, respectively, for a prior sex crime and the recency of the prior sex crime, based on defendant's prior conviction of forcible touching, a misdemeanor sex crime for purposes of these risk factors (see People v DeJean, 205 AD3d 460, 460-461 [1st Dept 2022], lv denied 38 NY3d 914 [2022]).
Defendant's claim that the court incorrectly assessed points under risk factor 1 is academic because reducing the point assessment for this factor from 15 to 5 points would not affect his presumptive risk level (see People v Pollack, 159 AD3d 435, 436 [1st Dept 2018], lv denied 31 NY3d 909 [2018]). In any event, the court's assessment of points for this factor was supported by clear and convincing evidence that the victim suffered physical injury (see People v Davalos, 217 AD3d 549 [1st Dept 2023], lv denied 40 NY3d 904 [2023]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2025








